         Case 2:09-cr-00138-JAM Document 163 Filed 03/20/17 Page 1 of 2
                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                    MEMORANDUM



Honorable John A. Mendez                      RE: Ahmad Khan
United States District Judge                      Docket Number: 2:09CR00138-01
Sacramento, California                            PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Ahmad Khan is requesting permission to travel to Pakistan. He is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 12, 2013, Ahmad Khan was sentenced for the
offenses of 7 USC 2024(b) - Unauthorized Use of Food Stamps, and 18 USC 1957 – Monetary
Transaction in Criminally Derived Property.


Sentence Imposed: 63 months custody Bureau of Prisons; 36 months Supervised Release; $200
special assessment


Dates and Mode of Travel: The offender will travel by Etihad Airways, leaving San Francisco
on March 27, 2017, and returning on May 25, 2017. His family is paying for the trip.


Purpose: The offender wishes to visit his mother in Pakistan, as she is old and in poor health.




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                                                                                                 REV. 06/2015
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 2:09-cr-00138-JAM Document 163 Filed 03/20/17 Page 2 of 2

RE:      Ahmad Khan
         Docket Number: 2:09CR00138-02-
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                         /s/ Wendy Reyes

                                          Wendy Reyes
                                  United States Probation Officer


Dated:    March 14, 2017
          Elk Grove, California
          WER/sda

                           /s/ Brenda Barron-Harrell
 REVIEWED BY:              Brenda Barron-Harrell
                           Supervising United States Probation Officer




                                  ORDER OF THE COURT

          ☒     Approved          ☐      Disapproved



   3/17/2017                                    /s/ John A. Mendez
 Date                                         John A. Mendez
                                              United States District Court Judge




                                                2
                                                                                                   REV. 06/2015
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
